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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 16-20341-CR-UU


 UNITED STATES OF AMERICA

 vs.

 ALBERT M. FIREBAUGH IV,

        Defendant.
                                   /

                      GOVERNMENT’S SUPPLEMENTAL RESPONSE

        The United States, by and through the undersigned Assistant United States Attorney,

 respectfully submits this supplemental response to amend the Government’s initial response [DE

 39] to Defendant’s pro se motion for compassionate release pursuant to 18 U.S.C. § 3582 [DE 32].

        On May 18, 2020, the Department of Justice issued internal guidance which directs that

 the Government concede that Defendants who have certain CDC risk factors, including:

        1. Asthma (moderate to severe)
        2. Chronic kidney disease being treated with dialysis
        3. Chronic lung disease, such as chronic obstructive pulmonary disease (COPD) (including
           emphysema and chronic bronchitis), idiopathic pulmonary fibrosis, and cystic fibrosis
        4. Diabetes, including type 1, type 2, or gestational
        5. Hemoglobin disorders, such as sickle cell disease and thalassemia
        6. Immunocompromised, including from cancer treatment, bone marrow or organ transplantation,
           immune deficiencies, HIV with a low CD4 cell count or not on HIV treatment, and prolonged
           use of corticosteroids and other immune weakening medications
        7. Liver disease, including cirrhosis
        8. Serious heart conditions, including heart failure, coronary artery disease, congenital heart
           disease, cardiomyopathies, and pulmonary hypertension; and/or
        9. Severe obesity, defined as a body mass index (BMI) of 40 or above

 can establish that “extraordinary and compelling reasons” warrant the reduction in sentence. In

 other words, in the Government’s view, during the COVID-19 pandemic, this Defendant

 Firebaugh’s documented COPD and Type II diabetes present “ serious physical or medical
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 condition(s) . . . that substantially diminish[] the ability of the defendant to provide self-care within

 the environment of a correctional facility and from which he … is not expected to recover.”

 U.S.S.G. § 1B1.13 cmt. n.1(A)(ii)(I). 1

          Based on Title 18 U.S.C. § 3582(c)(1)(A), as modified by the First Step Act, the Court still

 must consider whether a reduction in the Defendant’s sentence is appropriate under “the 3553(a)

 factors to the extent they are applicable” and “that such a reduction is consistent with applicable

 policy statements issued by the Sentencing Commission.”             As part of the U.S. Sentencing

 Guidelines Section 1B1.13(2), the Court must find that the defendant is “not a danger to the safety

 of any other person or to the community, as provided in 18 U.S.C. § 3142(g).”

          The Government can submit any additional filings by June 5, 2020 as directed by the Court.

                                                         Respectfully submitted,



                                                         ARIANA FAJARDO ORSHAN
                                                         UNITED STATES ATTORNEY

 Dated:    June 1, 2020                          By:     Timothy J. Abraham
                                                         TIMOTHY J. ABRAHAM
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 1 The undersigned advised defense counsel on May 26, 2020 of the substance of this
 supplemental response.
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 1, 2020, I electronically filed the foregoing document

 with the Clerk of the Court which sent notice to counsel of record.

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                                                      /s/Timothy J. Abraham
                                                      Timothy J. Abraham, AUSA




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